Case 1:20-cv-00052-SPW Document 267-17 Filed 09/27/23 Page 1of5

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August 8, 2023

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Re: Response to August 7, 2023 Email re Rule 35 Independent Medical Examinations
Caekaert & Mapley v. Watchtower Bible and Tract Society of New York, Inc., et al.
Rowland & Schulze v. Watchtower Bible and Tract Society of New York, Inc., et al.

Dear Brett,

Regarding the release of the raw testing data, we are fine with the data only being released to Dr.
Bone so long as we have the following language included in the MOA:

Dr. Butz’s report shail include a data sheet that identifies the tests given, with a
corresponding score and T score‘percentile rank for each such test. Furthermore,
Defendants and Dr. Butz acknowledge and agree that to the extent Dr. Butz relies on the
raw testing data for his opinions in this case, while such data is only being provided to
Plaintiffs’ retained expert Dr. Bone, Plaintiffs’ counsel and retained expert Dr. Trent
Holmberg shall be permitted to discuss and reference the raw testing data provided to
Dr. Bone for the purpose of this litigation.

Or something along these lines.

As to Dr. Butz’s travel costs to Australia, we really think that the most reasonable solution is to
conduct her exam and testing remotely, as Plaintiffs’ experts did. We understand that the
preference is for in-person, and we are making that happen for 3 of our 4 clients at great expense

to them. However, the cost of doing so for Ms. Mapley under Dr. Butz’s proposed terms does

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EXHIBIT

17

Case 1:20-cv-00052-SPW Document 267-17 Filed 09/27/23 Page 2 of 5

August 8, 2023
Page 2

not justify the marginal benefit (if any) of the in-person exam for her. Thus, if Dr. Butz wants to
insist on an in-person exam in Australia, when a virtual exam is certainly within the standard of
care and routine in a post-covid world, we think he needs to waive his professional fees for travel
time. Again, if he is willing to do so, we will have an agreement on Ms. Mapley’s exam. If he is
not, we will be asking the Court to order that one exam be taken remotely.

I am not sure where we stand on the other issues in the MOA, but I think we have sorted through
most of them. How about handling the inadvertent disclosure of attorney-client privileged
information?

Sincerely,

MEYER. HAFFER & STEPANS, PLLP

Ryan R. Shaffer
Case 1:20-cv-00052-SPW Document 267-17 Filed 09/27/23 Page 3 of5

From: Ryan Shaffer

To: Brett Jensen; Jessica Yuhas; Gerry.Fagan@moultonbellingham.com; Chri weeney; Jon Wilson; Michael
Sarabia; Jordan.Fi itonbell ; Joe! Taylor (itavlor@mmt-law.com

ca Rob Stepans; Jared Brannan; carrie. nance@moultonbellingham.com, Barbara Bessey; Sylvia Basnett; Katy
Gannon; James Mumion; Matthew Merrill; Debbie Braaten

Subject: RE: Caekaert/Mapley & Rowland Schulze: Response to WINY"s 7/27/2023 Ltr. re Rule 35 Exam

Date: Tuesday, August 8, 2023 4:03:25 PM

Brett,

Regarding the release of the raw testing data, we are fine with the data only being released to Dr.

Bone so long as we have the following language included in the MOA:
Dr. Butz’s report shall include a data sheet that identifies the tests given, with a
corresponding score and T score/percentile rank for each such test. Furthermore, Defendants
and Dr. Butz acknowledge and agree that to the extent Dr. Butz relies on the raw testing data
for his opinions in this case, while such data is only being provided to Plaintiffs’ retained
expert Dr. Bone, Plaintiffs’ counsel and retained expert Dr. Trent Holmberg shall be permitted
to discuss and reference the raw testing data provided to Dr. Bone for the purpose of this
litigation.

Or something along these lines.

As to Dr. Butz’s travel costs to Australia, we really think that most reasonable solution is to conduct
her exam and testing remotely, as Plaintiffs’ experts did. We understand that the preference is for
in-person, and we are making that happen for 3 of our 4 clients at great expense to them. However,
the cost of doing so for Ms. Mapley under Dr. Butz’s proposed terms does not justify the marginal
benefit (if any) of the in-person exam for her. Thus, if Dr. Butz wants to insist on in-person exam in
Australia, when a virtual exam is certainly within the standard of care and routine in a post-covid
world, we think he needs to waive his professional fees for travel time. Again, if he is willing to do
so, we will have agreement on Ms. Mapley’s exam. If he is not, we will be asking the Court to order
that one exam taken remotely.

| am not sure where we stand on the other issues in the MOA, but | think we have sorted through
most of them. How about handling the inadvertent disclosure of attorney-client privileged
information?

Best,

Ryan

From: Brett Jensen <BJensen@brownfirm.com>

Sent: Monday, August 7, 2023 4:12 PM

To: Ryan Shaffer <ryan@mss-lawfirm.com>; Jessica Yuhas <jessica@mss-lawfirm.com>;
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Sarabia <MSarabia@brownfirm.com>; Jordan.FitzGerald@moultonbellingham.com; Joel Taylor
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Case 1:20-cv-00052-SPW Document 267-17 Filed 09/27/23 Page 4 of 5

Ce: Rob Stepans <rob@mss-lawfirm.com>; Jared Brannan <jbrannan@mmt-law.com>;
carrie.nance@moultonbellingham.com; Barbara Bessey <BBessey@brownfirm.com>; Sylvia Basnett
<SBasnett@brownfirm.com>; Katy Gannon <katy@mss-lawfirm.com>; James Murnion <james@mss-
lawfirm.com>; Matthew Merrill <matthew@merrillwaterlaw.com>; Debbie Braaten
<debbie.braaten@moultonbellingham.com>

Subject: RE: Caekaert/Mapley & Rowland Schulze: Response to WTNY's 7/27/2023 Ltr. re Rule 35
Exam

Hi Ryan:
| just heard back from Dr. Bitz, and this is where things stand:

Regarding the release of raw testing data, Dr. Bitz will agree to release to Dr. Bone; however, Dr.
Holmberg has not demonstrated through the information provided that he has adequate training,
supervision, and experience conducting psychological assessments. | have Dr. BUtz’s supporting
information that | can provide you if you want. To keep things simple, can the MOA stipulate to the
release of raw testing data to Dr. Bone only for full resolution of this issue?

As for Dr. BUtz’s time in transit, | unfortunately do not have authority for further concession on the

issue of cost. As you read in Dr. Butz’s July 17h letter, he has already limited his time in transit costs
to a full 8-hour day. Obviously the trip to Australia is going to involve much longer days.

Let me know if you’d like to chat further.
Sincerely,

Brett C. Jensen
Brown Law Firm, P.C.

315 North 24" Street

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Case 1:20-cv-00052-SPW Document 267-17 Filed 09/27/23 Page 5of5

a waiver of any attorney-client or work-product privilege.

From: Ryan Shaffer <ryan@mss-lawfirm.com>

Sent: Monday, July 31, 2023 1:51 PM

To: Brett Jensen <Blensen@brownfirm.com>; Jessica Yuhas <jessica@mss-lawfirm.com>;

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Subject: RE: Caekaert/Mapley & Rowland Schulze: Response to WTNY's 7/27/2023 Ltr. re Rule 35
Exam

Brett,

Following up on our call, so long as Dr. Butz agrees to provide the raw test data to our experts (Bone
and Holmberg} we are good not requiring disclosure to Plaintiffs’ counsel.

Thanks,

Ryan R. Shaffer

Meyer, Shaffer

& Stepans, Pip

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